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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION


  UNITED STATES OF AMERICA,              MJ 20-95-BLG-TJC

                         Plaintiff,
                                         ORDER
           vs.

  TAYLOR LEIGH PLAINBULL,

                         Defendant.


      Based upon the motion of the United States (Doc. 7), and good cause

appearing, IT IS ORDERED that the criminal complaint and affidavit are

UNSEALED.

      DATED this 27th day of October, 2020.

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                                      TIMOTHY J. CAVAN
                                      United States Magistrate Judge
